     Case 18-09108-RLM-11     Doc 486 Filed 05/13/19 EOD 05/13/19 13:19:37    Pg 1 of 1
                              SO ORDERED: May 13, 2019.




                              ______________________________
                              Robyn L. Moberly
                              United States Bankruptcy Judge

                         UNITED STATES BANKRUPTCY COURT                  S000300 (rev 12/2017)
                               Southern District of Indiana
                                46 E. Ohio St., Rm. 116
                                 Indianapolis, IN 46204
In re:

USA Gymnastics,                                      Case No. 18−09108−RLM−11
          Debtor.

                             ORDER CONTINUING HEARING

An Agreed Motion to Continue Hearing was filed on May 13, 2019, by Creditor
Committee Tort Claimants Committee.

         Hearing on Motion for Examination Under Fed.R.Bankr.P. 2004

IT IS ORDERED that the Agreed Motion to Continue Hearing is GRANTED and that a
hearing will be held as follows:

         Date: June 3, 2019
         Time: 01:30 PM EDT
         Place: Rm. 329 U.S. Courthouse
                46 E. Ohio St.
                Indianapolis, IN 46204

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing party.

Attorney for Creditor Committee Tort Claimants Committee must distribute this order.

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